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 1   KELLY BABINEAU (CA State Bar #190418)
 2
     The Law Office of Kelly Babineau
     455 Capitol Mall, Ste 802
 3   Sacramento, CA 95814
     Tel:(916) 442-4948
 4
     Fax: (916) 492-2909
 5   kbabineau@klblawoffice.net
 6
     Attorney for RAMON GARCIA PRADO
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 9
                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11
     THE UNITED STATES OF AMERICA, ) No. 2:14-CR-0303MCE
                      Plaintiff,        )
12                                      ) STIPULATION AND
           v.                           ) ORDER TO CONTINUE
13
                                        ) STATUS CONFERENCE
14                                      )
                                        )
15
     RAMON GARCIA PRADO                 )
16                                      ) Date: 5-7-2015
                      Defendant.        ) Time: 9:00 a.m.
17
     ________________________________) Judge: Hon. Morrison C. England
18
                    Plaintiff United States of America, by and through its counsel of record,
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20
     and defendants Sesar Prado and Ramon Prado, by and through their counsels of record,

21   hereby stipulate as follows:
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            1.      By previous order, this matter was set for status April 23, 2015.
23
            2.      By this stipulation, defendant now moves to continue the status
24

25   conference until May 7, 2015, and to exclude time between April 23, 2015 and May 7,
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     2015, under Local Code T4. Plaintiff does not oppose this request.
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            3.      The parties agree and stipulate, and request that the Court find the
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 1   following:
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            a.      The government has represented that the discovery associated with this
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     case includes investigative reports, search warrant affidavits, judgment and commitment
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 5   records, CD’s and DVD’s, and RAP sheets of the defendants. All of this discovery has
 6
     been either produced directly to counsel and / or made available for inspection and
 7
     copying.
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 9          b.      Counsel for defendant desires additional time to complete the review of
10
     discovery, to conduct defense investigation, and to discuss potential resolutions with
11
     their clients. Counsel for Mr. Prado is in an ongoing homicide trial in state court and
12

13   has not had a chance to discuss the case fully with her client. Counsel has also been

14   continuing to engage in pre-trial negotiations with the government and otherwise
15
     prepare for trial.
16
            c.      Counsel for defendant believes that failure to grant the above-requested
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18   continuance would deny her the reasonable time necessary for effective preparation,
19
     taking into account the exercise of due diligence.
20
            d.      The government does not object to the continuance.
21

22          e.      Based on the above-stated findings, the ends of justice served by

23   continuing the case as requested outweigh the interest of the public and the defendant in
24
     a trial within the original date prescribed by the Speedy Trial Act.
25

26
            f.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.

27   § 3161, et seq., within which trial must commence, the time period of April 23, 2015 to
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     May 7, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),


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 1   B(iv) [Local Code T4] because it results from a continuance granted by the Court at
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     defendant’s request on the basis of the Court's finding that the ends of justice served by
 3
     taking such action outweigh the best interest of the public and the defendant in a speedy
 4

 5   trial.
 6
              4.      Nothing in this stipulation and order shall preclude a finding that other
 7
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 8

 9   from the period within which a trial must commence.

10   IT IS SO STIPULATED.
11

12
     Dated: April 17, 2015                              Respectfully submitted,
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14
                                                        /s/ Kelly Babineau
                                                        KELLY BABINEAU
15                                                      Attorney for Ramon Prado
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18
     Dated: April 17, 2015                              /s/ Olusere Olowoyeye
19                                                      OLUSERE OLOWOYEYE
                                                        Assistant U.S. Attorney
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21
                                         ORDER
22
              IT IS SO ORDERED as to Defendant Ramon Prado only.

23   Dated: April 28, 2015

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